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                                  EXHIBIT 5
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                            HOOPA VALLEY TRIBAL COUNCIL
                                        Hoopa Valley Tribe
                                Post Office Box 1348 Hoopa, California 95546
                                   PH (530) 625-4211 • FX (530) 625-4594
                                             www.hoopa-nsn.gov
                                                                                    Chairman Joe Davis



By email: DOIExecSec@ios.doi.gov

Hon. Debra Anne Haaland
Secretary
U.S. Department of the Interior
1849 C Street NW
Washington, D.C. 20240 of the Interior

Re: HVT v. Reclamation
We are in receipt of DOJ attorney Scott Thomas’ e-mail, dated December 13, 2022, about Hoopa’s
intention, noticed in its December 9, 2022, letter to Secretary Haaland and restated in a December
12 video conference with government attorneys in the Interior and Justice Departments, to seek a
temporary restraining order against implementation of the Trinity River winter flow variability
(WFV) project.

In the December 13 DOJ e-mail, the government offers to provide “at least three (3) business days
written notice before doing so.” That offer does not remove the ongoing threat of imminent
irreparable harm to Hoopa. Nor does it respond to Hoopa’s claim in the pending case of Hoopa
Valley Tribe v. Reclamation that an action such as the WFV project requires the Secretary to seek
and obtain Hoopa’s concurrence pursuant to Hoopa’s delegated sovereignty in Central Valley
Project Improvement Act section 3406(b)(23).

In response to the DOJ email, Hoopa requests that the Secretary of the Interior confirms in writing
to Hoopa that Hoopa’s right of concurrence is valid and binding on the Secretary of the Interior,
that the Secretary will direct her officers and agents to seek Hoopa’s concurrence in the WFV
project, and if Hoopa does not concur, the WFV project shall not be implemented. If Hoopa does
not receive this requested communication by 5:00 PM (Eastern) on Thursday, December 15, 2022,
Hoopa will proceed to file its request for TRO and Preliminary Injunction in the Court no later
than Friday, December 16, 2022 and will request the Court to set a hearing and rule on it as soon
as possible next week.

Sincerely,




Joe Davis, Chairman
Hoopa Valley Tribe
